Case 18-16697-amc        Doc 43   Filed 05/28/19 Entered 05/28/19 13:38:27      Desc Main
                                  Document Page 1 of 4
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)HGHUDO 1DWLRQDO 0RUWJDJH $VVRFLDWLRQ       
 )DQQLH 0DH                                   &KDSWHU 
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'HORQH /HVOLH                               
:LOOLDP & 0LOOHU                           
                      5HVSRQGHQWV           

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'DWHG
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0LFKDHO 6HWK 6FKZDUW] (VTXLUH
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Case 18-16697-amc   Doc 43   Filed 05/28/19 Entered 05/28/19 13:38:27   Desc Main
                             Document Page 2 of 4
Case 18-16697-amc   Doc 43   Filed 05/28/19 Entered 05/28/19 13:38:27   Desc Main
                             Document Page 3 of 4
Case 18-16697-amc   Doc 43   Filed 05/28/19 Entered 05/28/19 13:38:27   Desc Main
                             Document Page 4 of 4
